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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


ROBERT WOLFE, Individually and on                Civil Action No.
Behalf of All Others Similarly Situated,
                                                 CLASS ACTION COMPLAINT
                         Plaintiff,
                                                 DEMAND FOR JURY TRIAL
               v.

EXPRESS SCRIPTS HOLDING                             1. VIOLATIONS OF SECTION 14(a)
COMPANY, GEORGE PAZ, TIMOTHY                           OF THE SECURITIES EXCHANGE
WENTWORTH, MAURA C. BREEN,                             ACT OF 1934 AND RULE 14a-9
WILLIAM J. DELANEY, ELDER
GRANGER, NICHOLAS J. LAHOWCHIC,                     2. VIOLATIONS OF SECTION 20(a)
KATHLEEN M. MAZZARELLA,                                OF THE SECURITIES EXCHANGE
THOMAS P. MAC MAHON, FRANK
MERGENTHALER, WOODROW A.                               ACT OF 1934
MYERS JR., RODERICK A. PALMORE,
WILLIAM L. ROPER, and SEYMOUR
STERNBERG,

                         Defendants.



       Robert Wolfe (“Plaintiff”), on behalf of himself and all others similarly situated, by and

through his attorneys, alleges the following upon information and belief, including investigation

of counsel and review of publicly-available information, except as to those allegations pertaining

to Plaintiff, which are alleged upon personal knowledge:

                                 NATURE OF THE ACTION

       1.      This is a class action brought by Plaintiff on behalf of himself and the other

shareholders of Express Scripts Holding Company (“Express Scripts” or the “Company”), except

Defendants (defined below) and their affiliates, against Express Scripts and the members of

Express Scripts’ board of directors (the “Board” or the “Individual Defendants”) for their

violations of Section 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”),

15.U.S.C. §§ 78n(a), 78t(a), SEC Rule 14a-9, 17 C.F.R. 240.14a-9, and Item 1015 of Reg M-A,




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17 C.F.R. 229.1015, in connection with the proposed merger (the “Proposed Merger”) between

Express Scripts and Cigna Corporation (“Cigna”).

       2.      On March 8, 2018, the Board caused the Company to enter into an agreement and

plan of merger (the “Merger Agreement”) with the Cigna, pursuant to which, Express Scripts

shareholders will receive (1) 0.2434 of a share of New Cigna common stock; and (2) the right to

receive $48.75 in cash (the “Merger Consideration”).

       3.      On, July 16, 2018, the Board authorized the filing of a materially incomplete and

misleading definitive proxy statement (the “Proxy”) with the Securities and Exchange Commission

(“SEC”), in violation of Sections 14(a) and 20(a) of the Exchange Act recommending shareholders

to vote in favor of the Proposed Merger and setting a special meeting of Express Scripts

shareholders to vote on the Proposed Merger for August 24, 2018 (the “Shareholder Vote”).

       4.      While Defendants are touting the fairness of the Merger Consideration to the

Company’s shareholders in the Proxy, they have failed to disclose material information that is

necessary for shareholders to properly assess the fairness of the Proposed Merger, thereby

rendering certain statements in the Proxy incomplete and misleading. Specifically, the Proxy

contains materially incomplete and misleading information concerning: (i) the valuation analyses

performed by the Company’s financial advisors, Centerview Partners LLC (“Centerview”) and

Lazard Frères & Co. LLC (“Lazard” and together with Centerview, the “Financial Advisors”), in

support of their fairness opinions; and (ii) the conflicts of interest faced by Lazard.

       5.      It is imperative that the material information omitted from the Proxy is disclosed to

the Company’s shareholders prior to the August 24, 2018, Shareholder Vote, so that they can

properly exercise their corporate suffrage rights.




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        6.      For these reasons as set forth in detail herein, Plaintiff asserts claims against

Defendants for violations of Sections 14(a) and 20(a) of the Exchange Act, Rule 14a-9, and Reg

M-A. Plaintiff seeks to enjoin Defendants from holding the shareholder vote on the Proposed

Merger and taking any steps to consummate the Proposed Merger unless and until the material

information discussed below is disclosed to Express Scripts shareholders, or, in the event the

Proposed Merger is consummated, to recover damages resulting from the Defendants’ violations

of the Exchange Act.

                                   JURISDICTION AND VENUE

        7.      This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331, federal question jurisdiction, as Plaintiff alleges

violations of Section 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.

        8.      Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over defendant by this Court permissible under

traditional notions of fair play and substantial justice.

        9.      Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because: (i) the conduct at issue took place and had an

effect in this District; (ii) Express Scripts is incorporated in this District; (iii) a substantial portion

of the transactions and wrongs complained of herein, occurred in this District; and (iv) Defendants

have received substantial compensation in this District by doing business here and engaging in

numerous activities that had an effect in this District.




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                                            PARTIES

       10.     Plaintiff is, and has been at all relevant times, the owner of Express Scripts common

stock and held such stock since prior to the wrongs complained of herein.

       11.     Defendant Express Scripts is a Delaware corporation with its principle executive

offices located at One Express Way, Saint Louis, Missouri 63121. Express Scripts provides

integrated pharmacy benefit management services, including network-pharmacy claims

processing, home delivery pharmacy care, specialty pharmacy care, specialty benefit management,

benefit-design consultation, drug utilization review, formulary management, and medical and drug

data analysis services. Express Scripts’s common stock trades on the NASDAQ under the symbol

“ESRX.”

       12.     Individual Defendant George Paz is director of Express Scripts and Chairman of

the Board.

       13.     Individual Defendant Timothy Wentworth is a director of Express Scripts and the

President and Chief Executive Officer of the Company.

       14.     Individual Defendant Maura C. Breen is, and has been at all relevant times, a

director of Express Scripts.

       15.     Individual Defendant William J. DeLaney is, and has been at all relevant times,

Lead Director of Express Scripts.

       16.     Individual Defendant Elder Granger is, and has been at all relevant times, a director

of Express Scripts.

       17.     Individual Defendant Nicholas J. LaHowchic is, and has been at all relevant times,

a director of Express Scripts.




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       18.     Individual Defendant Kathleen M. Mazzarella is, and has been at all relevant times,

a director of Express Scripts.

       19.     Individual Defendant Thomas P. Mac Mahon is, and has been at all relevant times,

a director of Express Scripts.

       20.     Individual Defendant Frank Mergenthaler is, and has been at all relevant times, a

director of Express Scripts.

       21.     Individual Defendant Woodrow A. Myers Jr. is, and has been at all relevant times,

a director of Express Scripts.

       22.     Individual Defendant Roderick A. Palmore is, and has been at all relevant times, a

director of Express Scripts.

       23.     Individual Defendant William L. Roper is, and has been at all relevant times, a

director of Express Scripts.

       24.     Individual Defendant Seymour Sternberg is, and has been at all relevant times, a

director of Express Scripts.

       25.     The parties identified in ¶¶ 11-24 are collectively referred to as the “Defendants”.

                                 CLASS ACTION ALLEGATIONS

       26.     Plaintiff brings this action on his own behalf and as a class action pursuant to Rule

23 of the Federal Rules of Civil Procedure on behalf of all holders of Express Scripts common

stock who are being and will be harmed by Defendants’ actions described below (the “Class”).

Excluded from the Class are Defendants herein and any person, firm, trust, corporation, or other

entity related to or affiliated with any of the Defendants.

       27.     This action is properly maintainable as a class action for the following reasons:




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               (a)     The Class is so numerous that joinder of all members is impracticable. As

of the close of business on July 12, 2018, Express Scripts had 281,060,332 shares of common

stock outstanding held by hundreds to thousands of individuals and entities—the actual number of

public shareholders of Express Scripts will be ascertained through discovery.

               (b)     The holders of these shares are believed to be geographically dispersed

through the United States;

               (c)     There are questions of law and fact which are common to the Class and

which predominate over questions affecting individual Class members. The common questions

include, inter alia, the following:

                             i. Whether Defendants have violated Section 14(a) of the Exchange

                                act and/or Rule 14a-9 promulgated thereunder;

                             ii. Whether the Individual Defendants have violated Section 20(a) of

                                the Exchange Act; and

                             iii. Whether Plaintiff and the other members of the Class would suffer

                                irreparable injury were they required to vote on the Proposed Merger

                                as presently anticipated.


               (d)      Plaintiff’s claims are typical of the claims of the other members of the Class

and Plaintiff does not have any interests adverse to the Class;

               (e)     The prosecution of separate actions by individual members of the Class

would create a risk of inconsistent or varying adjudications with respect to individual members of

the Class which would establish incompatible standards of conduct for the party opposing the

Class; and




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               (f)     Defendants have acted on grounds generally applicable to the Class with

respect to the matters complained of herein, thereby making appropriate the relief sought herein

with respect to the Class as a whole.

                                 SUBSTANTIVE ALLEGATIONS

I.      Background and the Proposed Merger

        28.    Express Scripts, incorporated on July 15, 2011, is a pharmacy benefit management

(“PBM”) company. The Company is engaged in providing healthcare management and

administration services to its clients, including managed care organizations, health insurers, third-

party administrators, employers, union-sponsored benefit plans, workers' compensation plans, and

government health programs. The Company operates through two segments: PBM and Other

Business Operations. The PBM segment includes its integrated PBM operations and specialty

pharmacy operations. Its Other Business Operations segment includes its subsidiary, United

BioSource Corporation, and its specialty distribution operations.

        29.    Cigna, incorporated on November 3, 1981, together with its subsidiaries, is a health

services company. The Company offers medical, dental, disability, life, and accident insurance

and related products and services. The Company's segments include Global Health Care, Global

Supplemental Benefits, Group Disability and Life, and Other Operations and Corporate. The

Company's products are offered through employers and other groups, such as Governmental and

non-Governmental organizations, unions, and associations. Cigna also offers commercial health

and dental insurance, Medicare and Medicaid products, and health, life, and accident insurance

coverages to individuals in the United States and international markets. The Company's other

business operations include corporate-owned life insurance business, run-off reinsurance, and

settlement annuity businesses.




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       30.      On March 8, 2018, Cigna and Express Scripts issued a joint press release to

announce the Proposed Merger stating, in relevant part, as follows:

                        Cigna to Acquire Express Scripts for $67 Billion

             Drives greater affordability and connectivity with customers and their health
             care providers, while making health care simpler

             Creates an expanded portfolio of health services with greater choice, alignment
             and value across a proven services platform

             Expands distribution of health services for employers, health plans and
             government agencies

             Delivers first year double digit earnings per share accretion and enhances
             Cigna’s revenue and earnings growth

       BLOOMFIELD, Conn. & ST. LOUIS--(BUSINESS WIRE)--Mar. 8, 2018-- Cigna
       Corporation (NYSE: CI) and Express Scripts Holding Company (NASDAQ:
       ESRX) today announced that they have entered into a definitive agreement whereby
       Cigna will acquire Express Scripts in a cash and stock transaction valued at
       approximately $67 billion, including Cigna's assumption of approximately $15
       billion in Express Scripts debt. The merger consideration will consist of $48.75 in
       cash and 0.2434 shares of stock of the combined company per Express Scripts
       share. The transaction was approved by the board of directors of each company.

       “Cigna’s acquisition of Express Scripts brings together two complementary
       customer-centric services companies, well-positioned to drive greater quality and
       affordability for customers,” said David M. Cordani, President and Chief Executive
       Officer of Cigna. “This combination accelerates Cigna’s enterprise mission of
       improving the health, well-being and sense of security of those we serve, and in
       turn, expanding the breadth of services for our customers, partners, clients, health
       plans and communities. Together, we will create an expanded portfolio of health
       services, delivering greater consumer choice, closer alignment between the
       customer and health care provider, and more personalized value. This combination
       will create significant benefits to society and differentiated shareholder value.”

       “First and foremost, we believe this transaction delivers attractive value to the
       Express Scripts shareholders" said Tim Wentworth, President and Chief Executive
       Officer of Express Scripts. Regarding the combination of Cigna and Express
       Scripts, Mr. Wentworth noted, "Together, our two organizations will help make the
       healthiest choices the easiest choices, putting health and pharmacy services within
       reach of everyone we serve. Adding our company's leadership in pharmacy and
       medical benefit management, technology-powered clinical solutions, and
       specialized patient care model to Cigna’s track record of delivering value through



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   innovation, we are positioned to transform healthcare. We will continue to have a
   distinct focus at Express Scripts and eviCore on partnering with health plans, and
   together, build tailored solutions for health plans and their members. Importantly,
   this agreement is a testament to the work of our team and their resolute focus on
   providing the best care to patients, and the most value to clients.”

   Compelling Strategic Benefits

   Expanded Consumer Choice. Offering a full suite of medical, behavioral, specialty
   pharmacy and other health engagement services accessible across a wide array of
   retail and online distribution channels, providing optionality for all customers. This
   will position the combined company to deliver superior services, responding fully
   to the dynamic needs of our customers and clients, which will drive long-term value
   creation for shareholders.
   Patient-Provider Alignment. Using a broad and proven network of delivery system
   partnerships to drive the combined company’s role as the connective tissue between
   individuals and their health care providers, providing a more coordinated approach
   to an individual’s health care journey, reducing complexity and creating better
   outcomes.
   Personalized Value. Making health care simpler for consumers by harnessing
   actionable insights and predictive analytics, maximizing adoption of evidence-
   based care and delivering industry-leading innovation and medical technology to
   support care decisions.

   Terms of the Agreement

   Under the terms of the definitive agreement, the transaction consideration will
   consist of $48.75 in cash and 0.2434 shares of stock of the combined company per
   Express Scripts share, or $54 billion in the aggregate. Upon closing of the
   transaction, Cigna shareholders will own approximately 64% of the combined
   company and Express Scripts shareholders will own approximately 36%. The
   consideration represents an approximately 31% premium to Express Scripts’
   closing price of $73.42 on March 7, 2018.

   Upon closing, the combined company will be led by David M. Cordani as President
   and CEO. Tim Wentworth will assume the role of President, Express Scripts. The
   combined company’s board will be expanded to 13 directors, including four
   independent members of the Express Scripts board.

   The combined company will be named Cigna. Cigna's headquarters in Bloomfield,
   Connecticut, will become the headquarters for the combined company, and Express
   Scripts will be headquartered in St. Louis, Missouri. At closing, the combined
   company will make an incremental investment of $200 million in its charitable
   foundation, to support the communities in which it operates, and with the continued
   focus on improving societal health.




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       Financing, Closing and Approvals

       Cigna intends to fund the cash portion of the transaction consideration through a
       combination of cash on hand, assumed Express Scripts debt and new debt issuance
       and Cigna has obtained fully committed debt financing from Morgan Stanley
       Senior Funding, Inc. and The Bank of Tokyo-Mitsubishi UFJ, Ltd. The transaction
       is not subject to a financing condition. Upon completion of the transaction, Cigna
       is expected to have debt of approximately $41.1 billion. Cigna expects to have a
       debt-to-capitalization ratio of approximately 49% following the acquisition, and
       aims to achieve a ratio in the 30’s within 18 to 24 months after the transaction
       closes. Cigna expects to maintain its investment grade ratings.

       The transaction, which is expected to be completed by December 31, 2018, is
       subject to the approval of Cigna and Express Scripts shareholders and the
       satisfaction of customary closing conditions, including applicable regulatory
       approvals. Until the closing, Cigna and Express Scripts will continue to operate as
       independent companies.

       Advisors

       Morgan Stanley & Co. LLC is acting as sole financial advisor and provided a
       fairness opinion to the Cigna Board of Directors, Wachtell, Lipton, Rosen & Katz
       is serving as legal counsel and Paul, Weiss, Rifkind, Wharton & Garrison LLP is
       serving as regulatory counsel to Cigna. Centerview Partners LLC and Lazard Frères
       & Co. LLC are acting as financial advisors, Skadden, Arps, Slate, Meagher & Flom
       LLP is serving as legal counsel and Holland & Knight LLP is serving as regulatory
       counsel to Express Scripts.

II.    The Proxy Is Materially Incomplete and Misleading

       31.    On July 16, 2018, Express Scripts filed the Proxy with the SEC in connection with

the Proposed Merger. The Proxy solicits the Company’s shareholders to vote in favor of the

Proposed Merger. Defendants were obligated to carefully review the Proxy before it was filed

with the SEC and disseminated to the Company’s shareholders to ensure that it did not contain any

material misrepresentations or omissions. However, the Proxy misrepresents and/or omits material

information that is necessary for the Company’s shareholders to cast an informed vote regarding

Proposed Merger, in violation of Sections 14(a) and 20(a) of the Exchange Act.




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       32.     First, with respect to the Discounted Cash Flow Analyses prepared by the Financial

Advisors, the Proxy fails to disclose the following key components used in their analyses: (i) the

inputs and assumptions underlying the calculation of the various discount rate ranges (including

the WACC components); (ii) the inputs and assumptions underlying the selected perpetuity growth

rates; and (iii) the various terminal values calculated.

       33.     These key inputs are material to Express Scripts shareholders, and their omission

renders the summary of the Discounted Cash Flow Analyses incomplete and misleading. As a

highly-respected professor explained in one of the most thorough law review articles regarding the

fundamental flaws with the valuation analyses bankers perform in support of fairness opinions, in

a discounted cash flow analysis a banker takes management’s forecasts, and then makes several

key choices “each of which can significantly affect the final valuation.” Steven M. Davidoff,

Fairness Opinions, 55 Am. U.L. Rev. 1557, 1576 (2006). Such choices include “the appropriate

discount rate, and the terminal value…” Id. As Professor Davidoff explains:

       There is substantial leeway to determine each of these, and any change can
       markedly affect the discounted cash flow value. For example, a change in the
       discount rate by one percent on a stream of cash flows in the billions of dollars can
       change the discounted cash flow value by tens if not hundreds of millions of
       dollars….This issue arises not only with a discounted cash flow analysis, but with
       each of the other valuation techniques. This dazzling variability makes it difficult
       to rely, compare, or analyze the valuations underlying a fairness opinion unless full
       disclosure is made of the various inputs in the valuation process, the weight
       assigned for each, and the rationale underlying these choices. The substantial
       discretion and lack of guidelines and standards also makes the process vulnerable
       to manipulation to arrive at the “right” answer for fairness. This raises a further
       dilemma in light of the conflicted nature of the investment banks who often provide
       these opinions.

Id. at 1577-78. Without the above-omitted information Express Scripts shareholders are misled as

to the reasonableness or reliability of the Financial Advisors’ analyses, and unable to properly




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assess the fairness of the Proposed Merger. As such, these omissions render the summary of the

Discounted Cash Flow Analyses included in the Proxy materially incomplete and misleading.

       34.     Second, both of the Financial Advisors fairness opinions include summaries for

research analyst price targets, but the Proxy fails to provide a complete disclosure of each analyst

price target observed. A fair summary of this analysis requires the disclosure of the individual

targets for each analyst observed. Merely providing a range is insufficient, as shareholders are

unable to assess whether the financial advisor summarized fairly, or, instead, emphasized only the

figures that best present the targets in light of the Merger Consideration, i.e. as low as possible.

The omission of this information renders the summary of this analysis included in the Proxy

materially incomplete and misleading.

       35.     Third, the Proxy references the Financial Advisors’ use of Express Scripts’ net debt

as of March 2, 2018, Cigna’s net debt as of March 2, 2018, and pro forma net debt for the combined

company throughout the summaries of their fairness opinions, but fail to disclose the values of

such financial metrics. This financial information is material to Express Scripts’ shareholders,

because it was provided to and relied upon by the Financial Advisors. Indeed, in the prospective

financial information section of the Proxy, Express Scripts acknowledges the importance of this

information: “Express Scripts is electing to provide such information in this joint proxy

statement/prospectus because such information was provided to Express Scripts’ financial advisors

in connection with their respective financial analyses and Cigna for purposes of considering and

evaluating the mergers.” Proxy at 144. Therefore, it must also be provided to shareholders. The

failure to include the above information renders the summaries provided materially incomplete

and misleading.




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        36.     Fourth, and finally, the Proxy fails to disclose the amount of compensation Lazard

received for acting as a financial advisor to Express Scripts in connection with its acquisition of

CareCore National Group, LLC. Disclosure of “any material relationship that existed during the

past two years or is mutually understood to be contemplated and any compensation received or to

be received as a result of the relationship between” a financial advisor and the subject company or

its affiliates is required pursuant to 17 C.F.R. § 229.1015(b)(4). Such information is plainly

material to Express Scripts shareholders. It is imperative for shareholders to be able to understand

what factors might influence the financial advisor’s analytical efforts. A financial advisor’s own

proprietary financial interest in a Proposed Merger must be carefully considered when assessing

how much credence to give its analysis. A reasonable shareholder would want to know what

important economic motivations that the advisor, employed by a board to assess the fairness of the

transaction to the shareholders, might have. This is especially true when that motivation could

rationally lead the advisor to favor a deal at a less than optimal price, because the procession of a

deal was more important to them—given their overall economic interest—than only approving a

deal at truly fair price to shareholders.

        37.     On page 139, the Proxy states: “Lazard in the past provided certain investment

banking services to Express Scripts and/or certain of its affiliates unrelated to the transaction, for

which Lazard received compensation...” However, the Proxy fails to disclose the amount of

compensation Lazard received. The omission of quantified compensation details from Lazard’s

previous work as financial advisor renders the description in the Proxy and Lazard’s fairness

opinion materially incomplete and misleading, and in violation of 17 C.F.R. § 229.1015(b)(4).

        38.     In sum, the omission the of the above-referenced information renders statements in

the Proxy materially incomplete and misleading in contravention of the Exchange Act. Absent




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disclosure of the foregoing material information prior to the special shareholder meeting to vote

on the Proposed Merger, Plaintiff and the other members of the Class will be unable to make a

fully-informed decision regarding whether to vote in favor of the Proposed Merger, and they are

thus threatened with irreparable harm, warranting the injunctive relief sought herein.

                                              COUNT I

On Behalf of Plaintiff and the Class Against All Defendants for Violations of Section 14(a)
                                   of the Exchange Act

          39.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          40.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the use

of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

          41.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that Proxy communications with shareholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

          42.   Item 1015 of Regulation M-A requires “[a]ny report, opinion or appraisal relating

to the consideration or the fairness of the consideration to be offered to security holders or the

fairness of the transaction to the issuer or affiliate or to security holders who are not affiliates” to



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“[d]escribe any material relationship that existed during the past two years or is mutually

understood to be contemplated and any compensation received or to be received as a result of the

relationship between: (i) The outside party, its affiliates, and/or unaffiliated representative; and

(ii) The subject company or its affiliates.” 17 CFR 229.1015

       43.     The omission of information from a proxy statement will violate Section 14(a) and

Rule 14a-9 if other SEC regulations specifically require disclosure of the omitted information.

       44.     Defendants have issued the Proxy with the intention of soliciting shareholder

support for the Proposed Merger.         Each of the Defendants reviewed and authorized the

dissemination of the Proxy and the use of their name in the Proxy, which fails to provide critical

information regarding: (i) the valuation analyses performed by the Financial Advisors; and (ii) the

conflicts of interest faced by Lazard.

       45.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

as officers and/or directors, were aware of the omitted information but failed to disclose such

information, in violation of Section 14(a). The Individual Defendants were therefore negligent, as

they had reasonable grounds to believe material facts existed that were misstated or omitted from

the Proxy, but nonetheless failed to obtain and disclose such information to shareholders although

they could have done so without extraordinary effort.

       46.     Defendants knew or were negligent in not knowing that the Proxy is materially

misleading and omits material facts that are necessary to render it not misleading. The Individual

Defendants undoubtedly reviewed and relied upon most, if not all, of the omitted information

identified above in connection with their decision to approve and recommend the Proposed

Merger. Indeed, the Proxy states that Defendants were privy to and had knowledge of the financial




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projections for Express Scripts and the details surrounding discussions with other interested parties

and the Financial Advisors. Defendants knew or were negligent in not knowing that the material

information identified above has been omitted from the Proxy, rendering the sections of the Proxy

identified above to be materially incomplete and misleading. Indeed, the Individual Defendants

were required to review the Financial Advisors’ analyses in connection with their receipt of the

fairness opinions, question the bankers as to their derivation of fairness, and be particularly

attentive to the procedures followed in preparing the Proxy and review it carefully before it was

disseminated, to corroborate that there are no material misstatements or omissions.

       47.     Defendants were, at the very least, negligent in preparing and reviewing the Proxy.

The preparation of a proxy statement by corporate insiders containing materially false or

misleading statements or omitting a material fact constitutes negligence.         Defendants were

negligent in choosing to omit material information from the Proxy or failing to notice the material

omissions in the Proxy upon reviewing it, which they were required to do carefully. Indeed,

Defendants were intricately involved in the process leading up to the signing of the Merger

Agreement, the preparation and review of strategic alternatives, and the review of Express

Scripts’s financial projections.

       48.     Express Scripts is also deemed negligent as a result of the Individual Defendants

negligence in preparing and reviewing the Proxy.

       49.     The misrepresentations and omissions in the Proxy are material to Plaintiff and the

Class, and will deprive them of their right to cast an informed vote if such misrepresentations and

omissions are not corrected prior to the shareholder vote on the Proposed Merger. Plaintiff has no

adequate remedy at law. Only through the exercise of this Court’s equitable powers can Plaintiff




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be fully protected from the immediate and irreparable injury that Defendants’ actions threaten to

inflict.

                                              COUNT II

  On Behalf of Plaintiff and the Class Against the Individual Defendants for Violations of
                             Section 20(a) of the Exchange Act

           50.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

           51.   The Individual Defendants acted as controlling persons of Express Scripts within

the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions

as directors of Express Scripts, and participation in and/or awareness of the Express Scripts’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of Express Scripts, including the content and

dissemination of the statements that Plaintiff contends are materially incomplete and misleading.

           52.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

           53.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of Express Scripts, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The omitted information identified above was

reviewed by the Board prior to voting on the Proposed Merger. The Proxy at issue contains the




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unanimous recommendation of the Board to approve the Proposed Merger. The Individual

Defendants were thus directly involved in the making of the Proxy.

       54.     In addition, as the Proxy sets forth at length, and as described herein, the Individual

Defendants were involved in negotiating, reviewing, and approving the Merger Agreement. The

Proxy purports to describe the various issues and information that the Individual Defendants

reviewed and considered. The Individual Defendants participated in drafting and/or gave their

input on the content of those descriptions.

       55.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       56.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of the Individual Defendants’ conduct, Plaintiff and the Class will be irreparably harmed.

       57.     Plaintiff and the Class have no adequate remedy at law. Only through the exercise

of this Court’s equitable powers can Plaintiff and the Class be fully protected from the immediate

and irreparable injury that Defendants’ actions threaten to inflict.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff demands relief in his favor and in favor of the Class and against

the Defendants jointly and severally, as follows:

   A. Declaring that this action is properly maintainable as a Class Action and certifying Plaintiff

as Class Representative and his counsel as Class Counsel;




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   B. Preliminarily and permanently enjoining Defendants and their counsel, agents, employees,

and all persons acting under, in concert with, or for them, from proceeding with, consummating,

or closing the Proposed Merger, unless and until Defendants disclose the material information

identified above which has been omitted from the Proxy;

   C. Rescinding, to the extent already implemented, the Merger Agreement or any of the terms

thereof, or granting Plaintiff and the Class rescissory damages;

   D. Directing the Defendants to account to Plaintiff and the Class for all damages suffered as

a result of their wrongdoing;

   E. Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

   F. Granting such other and further equitable relief as this Court may deem just and proper.

                                        JURY DEMAND

       Plaintiff demands a trial by jury.

 DATED: July 27, 2018                                Respectfully submitted,

 OF COUNSEL                                          COOCH AND TAYLOR, P.A.

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